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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                               Eastern Division

D.A.N. Joint Venture III, L.P., et al.
                                           Plaintiff,
v.                                                         Case No.: 1:18−cv−00349
                                                           Honorable Elaine E. Bucklo
Dorothea Touris, et al.
                                           Defendant.



                 NOTICE OF MANDATORY INITIAL DISCOVERY

The Court is participating in the Mandatory Initial Discovery Pilot (MIDP). The key
features and deadlines are set forth in the attached Notice which includes the (MIDP)
Standing Order. Also attached is a Checklist for use by the parties. In cases subject to the
pilot, all parties must respond to the mandatory initial discovery requests set forth in the
Standing Order before initiating any further discovery in this case. Please note: The
discovery obligations in the Standing Order supersede the disclosures required by Rule
26(a)(1). Any party seeking affirmative relief must serve a copy of the attached
documents (Notice to Parties and the Standing Order) on each new party when the
Complaint, Counterclaim, Crossclaim, or Third−Party Complaint is served.
